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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                       Filed: January 23, 2020

*************************
ALIYAH ANDERSON,                            *       No. 16-1099V
                                            *
                       Petitioner,          *       Special Master Sanders
v.                                          *
                                            *
SECRETARY OF HEALTH                         *       Stipulation for Award; Tdap Vaccine;
AND HUMAN SERVICES,                         *       Ulnar Nerve Damage
                                            *
                       Respondent.          *
*************************
Richard Gage, Richard Gage, P.C., Cheyenne, WY, for Petitioner.
Julia Marter Collison, United States Department of Justice, Washington, DC, for Respondent.

                                            DECISION 1

       On September 2, 2016, Aliyah Anderson (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-10 to -34
(2012); Pet. at 1, ECF No. 1. Petitioner alleged that the Tdap vaccine she received on September
17, 2013, caused her to suffer nerve damage to the ulnar nerve in her left arm. See Stip. at 1, ECF
No. 73; Pet. at 1. Petitioner further alleged that she experienced the residual effects of her injury
for more than six months. Stip. at 1.

        On January 23, 2020, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Id. at 2. Respondent “denies that [P]etitioner
suffered nerve damage to the ulnar nerve in her left arm and denies that any vaccine caused
[P]etitioner’s alleged ulnar nerve injury or any other injury or her current condition.” Id. at 2.
Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A. I find the
stipulation reasonable and adopt it as the decision of the Court in awarding damages, on the terms
set forth therein.

1
  This decision shall be posted on the website of the United States Court of Federal Claims, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913
(codified as amended at 44 U.S.C. § 3501 note (2012)). This means the Decision will be
available to anyone with access to the Internet. As provided by Vaccine Rule 18(b), each party
has 14 days within which to request redaction “of any information furnished by that party: (1) that
is a trade secret or commercial or financial in substance and is privileged or confidential; or (2)
that includes medical files or similar files, the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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        The parties stipulate that Petitioner shall receive the following compensation:

                   •   A lump sum of $15,000.00 in the form of a check payable to
                       [P]etitioner;

                   •   A lump sum payment of $650.74, representing compensation for
                       satisfaction of the State of Arkansas Medicaid lien, payable
                       jointly to [P]etitioner, and

                               Arkansas Department of Human Services
                                    Division of Medical Services
                                      P.O. Box 1437, Slot S-532
                                     Little rock, AR 72203-1437

        Petitioner agrees to endorse this payment to the State of Arkansas. This
lump sum represents full satisfaction of any right of subrogation, assignment, claim,
lien, or cause of action the State of Arkansas had made to or on behalf of Aliyah
Anderson from the date of her eligibility for benefits through the date of judgment
in this case as a result of her alleged vaccine-related injury suffered on or about
September 17, 2013, under title XIX of the Social Security Act.

      This amount represents compensation for all damages that would be available
under 42 U.S.C. § 300aa-15(a).

Id. at 2–3.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation. 3

        IT IS SO ORDERED.

                                                     s/Herbrina D. Sanders
                                                     Herbrina D. Sanders
                                                     Special Master



3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
